           Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 1 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



DR. ALAN SACERDOTE, et al,                          Case No.: l:16-cv-06284


                        Plaintiffs,
                                                    ECF Case
 vs.




NEW YORK UNIVERSITY,


                        Defendant.



         DEFENDANT'S STATEMENT OF INITIAL DISCOVERY DISCLOSURE


        Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendant New York


University ("NYU") hereby provides the following written statement of initial discovery


disclosure.


                                      PRELIMINARY STATMENT


        This initial disclosure is based upon the claims asserted in the Amended Complaint dated


November 9, 2016, and Defendant's understanding of the allegations and claims asserted in the


Amended Complaint at this point in time.       This initial disclosure is based upon information


reasonably available to NYU at the present time, and additional facts, witnesses, relevant


materials and subject matters on which Defendant may rely at trial may be identified during the


course of discovery.    Defendant reserves the right to supplement these disclosures to set forth


such additional persons with discoverable information, documents, and facts as additional


information becomes available or relevant, including based upon Defendant's understanding of


the allegations in the Amended Complaint and any Orders or Opinions issued by the Court.


Defendant does not concede the relevancy of any information contained in, or derived from, this


disclosure statement.




EASTU37303653.6



                                                                                  EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 2 of 8



    I.       Persons With Discoverable Information


          The persons listed below many have discoverable information that the Defendant may


use to support its claims and defenses with respect to the NYU Retirement Plan for Members of


the Faculty, Professional Research Staff and Administration ("Faculty Plan") and/or the NYU


School of Medicine Retirement Plan for Members of the Faculty, Professional Research Staff


and Administration ("Medical Plan").


     1.   Margaret Meagher, NYU Langone Medical Center Human Resources, 1 Park Avenue,

          New York, New York, 10016; 212-404-3787.


    2.    Nancy Sanchez, NYU Langone Medical Center Human Resources, 1 Park Avenue, New

          York, New York, 10016; 212-404-3787.


    3.    Cynthia Nascimento, NYU Investment Office, 55 Fifth Avenue, New York, New York

          10003; 212-992-7908.


    4. Sabrina Ellis, NYU Human Resources, 105 East 1 7th Street, New York, New York; 212-
          998-1205.


    5. Trish Halley, NYU Human Resources, 105 East 17th Street, New York, New York,
          10003; 212-998-1293.


    6.    Richard Bing, NYU Provost Office, 70 Washington Square Park S, New York, New

          York, 10012; 212-998-2391.


    7.    Thomas Feuerstein, NYU Langone Medical Center, 1 Park Avenue, New York, New

          York 10016.


    8.    Michael Burke, NYU Langone Medical Center, 530 First Avenue, New York, New York,

          10016; 212-263-3092.


    9. Tim Hesler, NYU Treasury Management, 105 East 17th Street, New York, New York,
          10003; 212-998-2721.


    10. Catherine Casey, formerly with NYU; upon information and belief currently with

          Pershing, a BNY Mellon Company, New York, New York.




                                                 2
EASTU 37303653.6



                                                                              EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 3 of 8



    11. Linda Woodruff, formerly with NYU; upon information and belief currently with Total

         Rewards, New York.


    12. Martin Dorph, NYU Finance & Information Technology, 70 Washington Square Park S,

         New York, New York, 10012; 212-992-8282.


    13. Tina Surh, formerly with NYU; upon information and belief currently with Tufts

         University, Office of the Trustee, Ballou Hall, Medford, MA 02155; 617-627-3320.


    14. Terrence Nolan, NYU Counsel, New York University, 70 Washington Square South.

         New York New York, 10012; 212-998-2257.


    15. Ann Kraus, formerly with NYU; upon information and belief currently with Columbia

         University, New York, New York.


    16. Andrew Gordon, formerly with NYU; upon information and belief currently with

         Syracuse University.


    17. Kathleen Jacobs, NYU Investment Office, 55 Fifth Avenue, New York, New York

         10003; 212-992-7908.


    18. Chris Tang, NYU Finance & Technology, 10 Astor Place, New York, New York, 10003;

         212-998-2342.


    19. Maria Kartanos, NYU Human Resources, 105 East 17th Street, New York, New York;

         212-998-5070.


    20. Amy Bevacqua, NYU Counsel, New York University, 70 Washington Square South,

         New York New York, 10012; 212-998-2254.


    21. Cynthia Johnson, NYU Langone Medical Center, Human Resources, 1 Park Avenue,

         New York, New York; 212-404-3775.


    22. Brooke Seifert, formerly with NYU.


    23. Janice Bailey, formerly with NYU.


    24. Susi Hollnsteiner, NYU Human Resources, 105 East 17th Street, New York, New York,

         10003; 212-998-1277 .




                                               3
EASTU 37303653.6



                                                                                 EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 4 of 8



    25. Yolanda Vega, formerly with NYU; upon information and belief currently with Marubeni

         America Corporation, New York, New York.


    26. Mark Petti, NYU Human Resources, 105 East 17th Street, New York, New York, 10003;
         212-998-1287.


    27. Frank Franzi, NYU Lutheran Human Resources.


    28. Ana Salper, Counsel NYU Langone Medical Center, 1 Park Avenue, New York, New

         York, 10016; 212-404-4075.


    29. Julie Boden Adams, NYU Counsel, New York University, 70 Washington Square South,

         New York New York, 10012; 212-998-2262.


    30. Chris Garrison, TIAA, 1 Beacon Street, 8th Floor, Boston, MA 02108; 617-227-2720.


    31. Kelly Bolln, TIAA, 8500 Andrew Carnegie Blvd., Charlotte, North Carolina 28262; 800

         842-3639.


    32. Tom Callahan, TIAA, 1 Beacon Street, 8th Floor, Boston, MA 02108; 617-227-2720.


    33. Dan Commy, TIAA, 1 Beacon Street, 8th Floor, Boston, MA 02108; 617-227-2720.


    34. Dan Harper, TIAA, New York.


    35. Drew Kettering, TIAA, 1 Beacon Street, 8th Floor, Boston, MA 02108; 617-227-2720.


    36. Paul Tocci, The Vanguard Group, 2000 Kubach Road, Philadelphia, PA 19116; 610-669

         1000.


    37. Lucy Momjian, The Vanguard Group 2000 Kubach Road, Philadelphia, PA 19116; 610

         669-1000.


    38. Jeffrey Levy, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York, New

         York, 10005; 212-227-7770.


    39. Paula Kennedy, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York, New
         York, 10005; 212-227-7770.


    40. Mike Webb, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York, New
         York, 10005; 212-227-7770.




                                             4
EASTU 37303653.6



                                                                               EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 5 of 8



    41. Jan Reszler, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York, New
         York, 10005; 212-227-7770.


    42. Emily Wrightson, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York,
         New York, 10005; 212-227-7770.


    43. Denise Burns, Cammack Retirement Group, 40 Wall Street, 56lh Floor, New York, New
         York, 10005; 212-227-7770.


    44. Tina Bauer-Dobias, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York,
         New York, 10005; 212-227-7770.


    45. Lauren Morreale, formerly with Cammack Retirement Group; upon information and

         belief currently with Juniper Networks, One Penn Plaza, Suite 1901, New York, New

         York, 10119; 212-520-3300


    46. Mari Tsagerishvilli, Cammack Retirement Group, 40 Wall Street, 56lh Floor, New York,
         New York, 10005; 212-227-7770.


    47. Yocasta Cicalese, Cammack Retirement Group, 40 Wall Street, 56th Floor, New York,
         New York, 10005; 212-227-7770.



         Defendant reserves the right to supplement this list by furnishing any additional witness

information required by Rule 26(a)(1), including pursuant to Rules 33 and 34. In addition to the

foregoing individuals, other persons who may have knowledge of facts relating to Defendant's

claims or defenses in this action are:     (i) any person listed in documents made available for

inspection and copying or produced by the Defendant; (ii) any person listed in documents made

available for inspection and copying or produced in this action by any third-party; and (iii) any

person listed in the Initial Disclosures of the Plaintiffs.   This identification of individuals likely

to have discoverable information and the subjects of that information is based on Defendant's

reasonable investigation and is subject to change.        This identification also is made without

waiver of the right of Defendant to disclose other individuals with discoverable information

identified during the course of discovery and Defendant's continuing investigation.           Further,




                                                  5
EASTU 37303653.6



                                                                                        EXHIBIT D
               Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 6 of 8




Defendant does not waive, or intend to make any assertion that would result in a deemed waiver

of, the attorney-client privilege or any other privilege from discovery.



II.       Documents And Tangible Things


          Upon information and belief, the items listed below in Defendant's possession, custody


or control are relevant to and may be used by Defendant to support its claims and defenses in this


matter.     These items include, but are not limited to, electronically stored information stored on


any NYU server spaces (including personal server spaces), e-mail folders, e-mail archives, hard


drives, floppy disks, CDROMs, zip drives or other electronic storage media, offsite document


storage facilities, filing cabinets, text messages, or any other spaces where electronically stored


information may be found.


          1.         Faculty Plan Documents.


          2.         Medical Plan Documents.


          3.         Summary Plan Descriptions for the Faculty Plan and Medical Plan.


          4.         Plan and Investment Notices for the Faculty Plan and Medical Plan.


          5.         Investment Options Comparative Charts for the Faculty Plan and Medical Plan.


          6.         Summaries of Plan Services and Costs,


          7.         Custodial Account Agreements for the Faculty and/or Medical Plans.


          8.         Recordkeeping Services Agreements for the Faculty and/or Medical Plans.


          9.         Vanguard All-in Fee Disclosures and Pricing Proposals.


          10.        TIAA-CREF Changes to CREF Multi-Class Fee Structure.


          11.        TIAA-CREF Group Annuity Contracts and related documents.


          12.        Investment Policy Statements for Defined Contribution Retirement Plans.




                                                     6
EAST\ 137303653. 6



                                                                                          EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 7 of 8



         13.       Retirement Committee Meeting Minutes, including meeting minutes from Due


Diligence Meetings.


         14.       Materials Distributed at Retirement Committee Meetings, including Meeting


Agendas and Due Diligence Reports.


         15.       Documents related to investment elections and account balances of named


Plaintiffs and other participants in the Faculty Plan and Medical Plan,


         Defendant reserves the right to supplement this list by furnishing any additional


documents and information required by Rule 26(a)(1), including pursuant to Rules 33 and 34.


III.     Damages


         NYU is not, at the present time, seeking damages from Plaintiffs.   If NYU subsequently


files a counterclaim seeking damages, it will amend this disclosure accordingly.



IV.      Insurance Agreements


         Defendant is a party to an insurance agreement with Chartis which may satisfy all or part


of a possible judgment in this action or indemnify or reimburse Defendant for payments made to


satisfy the judgment.



Dated: November 28, 2016


                                              Respectfully submitted,




                                                irk    idcl eking
                                              Ian C. Taylor
                                              Juliya Ben-Zev
                                              DLA PIPER LLP (US)
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                                             Washington, DC 20004
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                                             Brian Kaplan (BK4922)



                                                7
EASTU 37303653.6


                                                                                   EXHIBIT D
            Case 1:16-cv-06284-AT Document 304-4 Filed 04/22/18 Page 8 of 8



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                                       New York, New York 10020
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                                         8
EASTU 37303653.6



                                                                     EXHIBIT D
